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                 See




                                                             Id

                                                                  See
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     Id




                           See
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                                     See




  see




                                                   inter alia

                                                 See id.



See id.
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                                                    Id




                                            See United States v. Powell

                                             United States v. Glover
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                                                            See, e.g United

States v. Brown

                                                       United States v. Dunlap




          United States v. Croft




                                              See




                                   See
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